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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:17CR207

      vs.
                                                         PRELIMINARY ORDER
BLANCA AVILA DE VEGA; MELISSA                              OF FORFEITURE
VEGA; ALEJANDRO BUENDIA-
RAMIREZ; CARLOS ALBERTO
VALQUIER; and ALFREDO VALQUIER,

                     Defendants.


       This matter is before the Court on the government’s Motion for Preliminary Order
of Forfeiture (Filing No. 120). The Court has carefully reviewed the record in this case
and finds as follows:

       1.     Defendant Alejandro Buendia-Ramirez has pled guilty to Count I of the
Indictment and admitted the Forfeiture Allegation of said Indictment.

       2.     Defendants Blanca Avila De Vega, Melissa Vega, and Carlos Alberto
Valquier have entered into Plea Agreements (Filing Nos. 94, 96, and 98, respectively),
under which they have pled guilty to Count I and admitted the Forfeiture Allegation of
the Indictment.

       3.     On November 29, 2017, the jury returned a special verdict forfeiting
Alfredo Valquier’s interest in the currency set forth in the Forfeiture Allegation.

       4.     Count I of the Indictment charged the Defendants with conspiring to
distribute 500 grams or more of a mixture or substance containing methamphetamine, in
violation of 21 U.S.C. § 846. The Forfeiture Allegation in the Indictment sought the
forfeiture, pursuant to 21 U.S.C. § 853, of all of the United States currency seized on
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June 7, 2017, from Alejandro Buendia-Ramirez and a residence at 3102 South 15th
Street, Omaha, Nebraska, on the basis the currency was used or was intended to be used
to facilitate the commission of the conspiracy and/or was derived from proceeds obtained
directly or indirectly as a result of the conspiracy charged in Count I.

       5.     The amount of money seized was $92,500 from Alejandro Buendia-
Ramirez and $19,000 from a residence at 3102 South 15th Street, Omaha, Nebraska.

       6.     By virtue of said pleas and admissions and the special verdict, the
Defendants forfeit their interest in the aforementioned currency, and the government
should be entitled to possession of said currency, pursuant to 21 U.S.C. § 853.

       7.     The government’s Motion for Preliminary Order of Forfeiture should be
granted.

       IT IS ORDERED:
       1.     The government’s Motion for Preliminary Order of Forfeiture is granted.
       2.     Based upon the Forfeiture Allegation of the Indictment, the Defendants’
              guilty pleas and omissions, and the special verdict, the government is
              authorized to seize the $92,500 and $19,000 in United States currency.
       3.     The Defendants’ interest in the $92,500 and $19,000 in United States
              currency is hereby forfeited to the United States for disposition in
              accordance with the law, subject to the provisions of 21 U.S.C. § 853(n)(1).
       4.     The aforementioned currency is to be held by the United States in its secure
              custody and control.
       5.     Pursuant to 21 U.S.C. § 853(n)(1), the government forthwith shall publish
              for at least thirty consecutive days on an official internet government
              forfeiture site, www.forfeiture.gov, notice of this Order, notice of
              publication evidencing the government’s intent to dispose of the currency
              in such manner as the Attorney General may direct, and notice that any
              person, other than the Defendants, having or claiming a legal interest in any
              of the subject currency must file a Petition with the court within thirty days
              of the final publication of notice or of receipt of actual notice, whichever is
              earlier.


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     6.    The published notice shall state the Petition referred to in Paragraph 5
           above, shall be for a hearing to adjudicate the validity of the Petitioner’s
           interest in the currency, shall be signed by the Petitioner under penalty of
           perjury, and shall set forth the nature and extent of the Petitioner’s right,
           title or interest in the subject currency and any additional facts supporting
           the Petitioner’s claim and the relief sought.
     7.    The government may also, to the extent practicable, provide direct written
           notice to any person known to have an interest in the currency to this Order
           as a substitute for published notice as to those persons so notified.
     8.    Upon adjudication of all third-party interests, this Court will enter a Final
           Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests
           will be addressed.


     Dated this 4th day of December, 2017.

                                             BY THE COURT:



                                             Robert F. Rossiter, Jr.
                                             United States District Judge




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